
35 N.Y.2d 662 (1974)
In the Matter of Robert Young et al., Appellants,
v.
T. R. Beales et al., Constituting the Zoning Board of Appeals of the Village of Newark, et al., Respondents.
Court of Appeals of the State of New York.
Argued September 12, 1974.
Decided October 7, 1974.
James J. Kaufman for appellants.
Joseph A. Turri for respondents.
Concur: Chief Judge BREITEL and Judges GABRIELLI, JONES, WACHTLER, RABIN, STEVENS and WITMER.[*]
Order affirmed, with costs, on the memorandum at the Appellate Division.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution.

